     JAMES D. PERKINS, WSBA #12996
 1
     Attorney for the United States Trustee
 2   United States Dept. of Justice
     920 West Riverside, Room 593
 3   Spokane, WA 99201
 4
                             UNITED STATES BANKRUPTCY COURT
 5                           EASTERN DISTRICT OF WASHINGTON
 6    In re:
                                                             Case No. 18-03197-FPC11
 7
      Giga Watt Inc.
 8                                                           APPLICATION FOR APPROVAL
                                                             OF APPOINTMENT OF CHAPTER
 9                        Debtor                             11 TRUSTEE
10
        The United States Trustee hereby applies to the court pursuant to 11 U.S.C. §1104(d)
11
12   and FRBP 2007.1 for an order approving the appointment of a Chapter 11 trustee, and in

13   support thereof states:

14             1. The court entered an order on January 17, 2019 directing the United States
15
     Trustee to appoint a chapter 11 trustee in this case.
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               2. The United States Trustee has appointed Mark Waldron as trustee in this case.
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     Mr. Waldron is a Chapter 7 Trustee in the Western District of Washington and also has
18
19   extensive experience with complex Chapter 11 cases.

20             3. Prior to the appointment of the trustee, the United States Trustee’s office
21   consulted independently with the following parties:
22
                  a. Tim Fischer, who represents the Debtor
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                  b. Daniel Bugbee and Ben Ellison, who represent the Unsecured Creditors
24
                      Committee
25
26                c. David Kazemba, who represents creditors Giga Plex LLC and MLDC1

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                      LLC
 1
 2                d. Bill Hames, who represents creditor Port of Douglas County

 3                e. Christopher Ries who represents creditor Neppel Electrical & Controls,
 4                    LLC
 5
                  f. Vanessa Pierce Rollins who represents creditor David Carlson
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     4. To the best of the U.S. Trustee's knowledge, Mr. Waldron has no connections with the
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     debtor, creditors, any other parties in interest, their respective attorneys and accountants,
 8
 9   the United States Trustee, or persons employed in the Office of the United States Trustee.

10           5. The United States Trustee requests that the court enter an order approving the
11   appointment of Mark Waldron as trustee in this case.
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     Dated: January 23, 2019
13
14                                                        GREGORY M. GARVIN
                                                          Acting United States Trustee
15
                                                          /s/ James D. Perkins
16                                                        JAMES D. PERKINS
                                                          Attorney for the United States Trustee
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